       Case 19-13478-pmm                        Doc 82         Filed 07/01/24 Entered 07/01/24 11:21:23                         Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
 Debtor 1                  MARIE ANN HOLENDA-PLETZ


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          19-13478-PMM




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 QUICKEN LOANS INC                                                          3-1

 Last 4 digits of any number you use to identify the debtor's account                         4   1   0   9

 Property Address:                              211 W WABASH ST
                                                ALLENTOWN, PA 18103-5022




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $        339.24

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $        339.24

 c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):                   (c)   $           -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c) and (d)              $           -0-
        paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $           -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $           -0-

 g. Total. Add lines b, d, and f.                                                                                     (g)   $        339.24



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


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Debtor 1     MARIE ANN HOLENDA-PLETZ                                           Case number (if known) 19-13478-PMM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within
 21 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full
 the amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees,
 costs, and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all
 postpetition payments as of the date of the response. Failure to file and serve the statement may subject the creditor to
 further action of the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date     07/01/2024


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




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Debtor 1     MARIE ANN HOLENDA-PLETZ                                          Case number (if known) 19-13478-PMM
             Name




History Of Payments
Part 2 - B
Claim ID Name                          Creditor Type               Date       Check # Posting Description                 Amount
3        QUICKEN LOANS INC             Pre-Petition Arrears        12/17/2021 17224772Disbursement To Creditor/Principal     15.66
3        QUICKEN LOANS INC             Pre-Petition Arrears        02/18/2022 17226732Disbursement To Creditor/Principal     22.82
3        QUICKEN LOANS INC             Pre-Petition Arrears        04/22/2022 17228717Disbursement To Creditor/Principal     22.82
3        QUICKEN LOANS INC             Pre-Petition Arrears        06/27/2022 17230552Disbursement To Creditor/Principal     22.82
3        QUICKEN LOANS INC             Pre-Petition Arrears        08/19/2022 17232475Disbursement To Creditor/Principal     22.82
3        QUICKEN LOANS INC             Pre-Petition Arrears        10/21/2022 17234416Disbursement To Creditor/Principal     22.82
3        QUICKEN LOANS INC             Pre-Petition Arrears        12/16/2022 17236279Disbursement To Creditor/Principal     22.82
3        QUICKEN LOANS INC             Pre-Petition Arrears        02/17/2023 17238134Disbursement To Creditor/Principal     22.82
3        QUICKEN LOANS INC             Pre-Petition Arrears        04/21/2023 17239919Disbursement To Creditor/Principal     22.69
3        QUICKEN LOANS INC             Pre-Petition Arrears        06/16/2023 17241638Disbursement To Creditor/Principal     22.56
3        QUICKEN LOANS INC             Pre-Petition Arrears        08/18/2023 17243337Disbursement To Creditor/Principal     22.56
3        QUICKEN LOANS INC             Pre-Petition Arrears        10/20/2023 17244989Disbursement To Creditor/Principal     22.44
3        QUICKEN LOANS INC             Pre-Petition Arrears        12/13/2023 17243337Cancelled Check To Creditor/Principal -22.56
3        QUICKEN LOANS INC             Pre-Petition Arrears        12/15/2023 17246579Disbursement To Creditor/Principal     44.88
3        QUICKEN LOANS INC             Pre-Petition Arrears        02/16/2024 17248218Disbursement To Creditor/Principal     22.32
3        QUICKEN LOANS INC             Pre-Petition Arrears        04/19/2024 17249871Disbursement To Creditor/Principal     22.32
3        QUICKEN LOANS INC             Pre-Petition Arrears        05/24/2024 17250706Disbursement To Creditor/Principal      6.63
                                                                                           Total for Part 2 - B:           339.24




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